
PER CURIAM.
Darlene Williams, plaintiff below, appeals a defense verdict in her lawsuit for damages occasioned by the collision of her automobile with a truck owned by defendant-appellee, Eagle Brands, Inc. Plaintiff contends that the trial court erred by .giving a jury instruction regarding a driver’s obligation to yield the right-of-way where there is a yield sign, as set forth in subsection 316.123(3), Florida Statutes. We conclude that the evidence in the case sufficiently supported the giving of the instruction and affirm the final judgment under review. See Sotuyo v. Williams, 587 So.2d 612, 614 (Fla. 1st DCA 1991).
Affirmed.
